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                                                     1   Kresta Nora Daly, SBN 199689
                                                         Thomas W. Barth, SBN 154075
                                                     2   BARTH TOZER & DALY LLP
                                                         431 "I" Street, Suite 201
                                                     3   Sacramento, California 95814
                                                         Telephone: (916) 440-8600
                                                     4   Facsimile: (916) 440-9610
                                                         Email: kdaly@btdlaw.net
                                                     5
                                                         Attorneys for Defendant
                                                     6   DERIAN EIDSON

                                                     7

                                                     8                               IN THE UNITED STATES DISTRICT COURT

                                                     9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                    10

                                                    11   UNITED STATES OF AMERICA,                          Case No. 2:11-CR-00234-TLN

                                                    12                  Plaintiff,                          STIPULATION AND ORDER
B ARTH T OZER & D ALY LLP
                        S ACRAMENTO , C ALIFORNIA




                                                    13          v.
                            A TTORNEYS A T L AW




                                                    14   STEVEN K. ZINNEL and DERIAN EIDSON,

                                                    15                  Defendant.

                                                    16

                                                    17                 At the conclusion of the trial in this matter Ms. Eidson was allowed to remain out

                                                    18   of custody. In order to remain out of custody, Ms. Eidson was required to agree to specific

                                                    19   release conditions. Among those conditions was a condition that Ms. Eidson refrain from

                                                    20   engaging in any financial transaction of more than $500 without prior approval of the

                                                    21   government.

                                                    22                 It is hereby stipulated and agreed to between the United States of America through

                                                    23   Matthew Segal, Assistant U.S. Attorney, Audrey Hemesath, Assistant United States Attorney,

                                                    24   Kevin Khasigian, Assistant United States Attorney and defendant Derian Eidson, through her

                                                    25   counsel, Kresta Nora Daly, that the release condition prohibiting Ms. Eidson from engaging in

                                                    26   any financial transaction of more than $500 without prior approval by the government be

                                                    27   removed.

                                                    28                 Ms. Eidson understands and expressly agrees that by removing this release


                                                                                                STIPULATION AND ORDER
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                                                     1   condition the government is not immunizing Ms. Eidson in connection with any past or future

                                                     2   financial transaction.

                                                     3                  The parties further stipulate that no other release condition is modified by the

                                                     4   removal of this specific condition of release.

                                                     5   Dated: September 20, 2013.            Respectfully submitted,
                                                     6                                         BARTH TOZER & DALY LLP
                                                     7

                                                     8                                         By         /s/ Kresta Nora Daly
                                                                                                          KRESTA NORA DALY
                                                     9                                                    Attorneys for Derian Eidson
                                                    10

                                                    11
                                                         Dated: September 20, 2013             By         /s/ Kresta Nora Daly
                                                    12                                                    Kevin Khasigian
B ARTH T OZER & D ALY LLP




                                                                                                          Assistant United States Attorney
                        S ACRAMENTO , C ALIFORNIA




                                                    13
                            A TTORNEYS A T L AW




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                                                    15                                                ORDER
                                                    16                  IT IS SO ORDERED.
                                                    17
                                                         Dated: September 23, 2013
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                                                    21
                                                                                                                     Troy L. Nunley
                                                    22                                                               United States District Judge

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                                                                                                  STIPULATION AND ORDER
